Case 1:25-cv-00121-MSM-LDA             Document 4-17        Filed 04/01/25      Page 1 of 37 PageID
                                            #: 1826



                           DECLARATION OF RYAN ROLLINSON
                I, Ryan Rollinson, declare as follows:

        1.      I am a resident of the State of Illinois. I am over the age of 18 and have personal

 knowledge of all the facts stated herein, except to those matters stated upon information and

 belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.      I am currently employed by the Illinois Department of Human Services (IDHS) as

 the Chief of Staff for the Division of Mental Health (DMH).

        3.      As DMH Chief of Staff, I am responsible for overseeing all operations of the

 division, which includes funding mental health centers and providers, operating seven state

 psychiatric hospitals and the Treatment and Detention Center, and providing a statewide safety

 net for individuals experiencing mental illness.

        4.      Our agency recently received four award terminations from the U.S. Department

 of Health and Human Services, Substance Abuse and Mental Health Services Administration

 (SAMHSA). Two of the terminated awards had already reached their end date at the time of the

 termination notice, but two awards (with a total value greater than $50 million) were still in

 effect. All terminations were “for cause” based on the end of the COVID pandemic, rather than

 failure of IDHS to follow the terms or conditions of the grants. Each award termination uses the

 same identical form language stating that “[t]hese grants were issued for a limited purpose: To

 ameliorate the effects of the pandemic. The end of the pandemic provides cause to terminate

 COVID-related grants. Now that the pandemic is over, the grants are no longer necessary.”

 Descriptions of the two awards terminated before their end date and the effects of these

 terminations follow.



                                                    2
Case 1:25-cv-00121-MSM-LDA            Document 4-17        Filed 04/01/25     Page 2 of 37 PageID
                                           #: 1827



 Community Mental Health Block Grant (ARPA)

        5.      In May 2021, SAMHSA awarded IDHS a Community Mental Health Services

 Block Grant for the period of September 1, 2021 through September 30, 2025. The total amount

 of the award was $50,217,012.

        6.      SAMHSA produced a Notice of Award setting forth the terms and conditions of

 the grant award. A true and correct copy of the corresponding Notice of Award and its

 attachments, dated May 17, 2021, is attached as Exhibit A.

        7.      Since September 2021, IDHS has used the ARPA Community Mental Health

 Block Grant funds in a manner fully consistent with SAMHSA’s statements regarding the nature

 of the grant and IDHS’s grant application.

        8.      IDHS has expended funds from this grant to support two critical mental health

 programs across Illinois. The first program is a mobile crisis response service, providing a

 continuum of services for individuals experiencing mental health crises. The second program

 supports individuals who have experienced “first episode psychosis,” using a specialized

 treatment approach for individuals between the ages of 14 and 40 to promote recovery, reduce

 the chance of relapse, and improve the long-term course of the illness. Dozens of providers

 across the state depend on IDHS’s grant funding to provide these critical services every day.

        9.      As of March 24, 2025, the ARPA Community Mental Health Block Grant

 awarded to IDHS had $20,500,716 remaining in funds committed by SAMHSA. IDHS intended

 to expend $19,155,650 of those funds by the grant’s end date of September 30, 2025, in order to

 continue funding mobile crisis response and first episode psychosis services in Illinois. IDHS

 also planned to use these funds to satisfy its obligations to providers for work performed before




                                                  3
Case 1:25-cv-00121-MSM-LDA              Document 4-17      Filed 04/01/25      Page 3 of 37 PageID
                                             #: 1828



 March 24, 2025, who would ordinarily have been paid through a draw-down of those funds but

 for the notice of grant termination.

        10.     IDHS has fully performed all of its obligations with respect to this grant,

 including making timely submissions to SAMHSA and complying with the terms and conditions

 set forth in the notice of grant award.

        11.     On March 24, 2025, without any prior notice or indication, SAMHSA informed

 IDHS that effective that same day its ARPA Mental Health Block Grant was being terminated. A

 true and correct copy of the grant award termination correspondence is attached as Exhibit B.

        12.     SAMHSA’s purported basis for the grant termination was that SAMHSA sought

 to “reduce the overall Federal spending,” stating that “the pandemic is over[ and] the grants are

 no longer necessary.” SAMHSA provided no further information or clarification about the basis

 for the termination of this grant.

        13.     SAMHSA subsequently provided a superseding notice of termination on March

 28, 2025, that repeated the same purported justification for the grant termination.

        14.     The process by which SAMHSA notified IDHS of this grant termination was

 unusual in that IDHS was not provided with any other notice or warning from any contacts at

 SAMHSA, who in the past have typically notified IDHS before sending similar notices. The

 notice was also unusual because it was not signed by any particular SAMHSA official.

        15.     IDHS relied and acted upon its expectation and understanding that HHS would

 fulfill its commitment to provide ARPA Mental Health Block Grant funding it had awarded to

 IDHS. The lack of any prior notice and the sudden, same-day termination of the anticipated

 funding has caused IDHS hardship in the administration of the programs supported by that

 funding. For example, IDHS does not know whether it can fulfill its outstanding obligations to



                                                  4
Case 1:25-cv-00121-MSM-LDA            Document 4-17        Filed 04/01/25      Page 4 of 37 PageID
                                           #: 1829



 providers who performed work in the programs funded by this grant before the date of

 termination.

        16.     The termination of this grant will cause severe and irrevocable harm to

 individuals in Illinois. The ARPA Mental Health Block Grant funding supported mobile crisis

 response units that assist people at risk of suicide. Without that funding, providers will simply be

 unable to help people in suicidal crisis. And individuals who would otherwise qualify for

 assistance pursuant to the “first episode psychosis” program will not receive the care they need,

 increasing the risk that they will suffer more severe or recurring mental health crises.

        17.     Before the grant award termination on March 24, 2025, SAMHSA had never

 provided IDHS with notice, written or otherwise, that the grant administered by IDHS was in any

 way unsatisfactory.

 Community Mental Health Block Grant (ARPA Mitigation)

        18.     In August 2021, SAMHSA awarded IDHS an ARPA Mitigation Block Grant for

 the period of September 1, 2021 through September 30, 2025. The total amount of the award was

 $1,728,152.

        19.     SAMHSA produced a Notice of Award setting forth the terms and conditions of

 the grant award. A true and correct copy of the corresponding Notice of Award and its

 attachments, dated August 10, 2021, is attached as Exhibit C.

        20.     Since September 2021, IDHS has used the ARPA Mitigation Block Grant funds

 in a manner fully consistent with SAMHSA’s statements regarding the nature of the grant and

 IDHS’s grant application.

        21.     IDHS has expended funds from this grant to offer personal protective equipment

 and other virus-mitigation materials to mental health and substance use disorder community



                                                  5
Case 1:25-cv-00121-MSM-LDA             Document 4-17       Filed 04/01/25      Page 5 of 37 PageID
                                            #: 1830



 providers. The purpose of this program is to ensure that providers offering critical mental health

 and other services to patients can minimize the spread of dangerous respiratory illnesses.

        22.     As of March 24, 2025, the ARPA Mitigation Block Grant awarded to IDHS had

 $295,424 remaining in funds committed by SAMHSA. IDHS intended to expend $105,511 of

 those funds by the grant’s end date of September 30, 2025, in order to continue offering personal

 protective equipment and similar materials to medical providers.

        23.     IDHS has fully performed all of its obligations with respect to this grant,

 including making timely submissions to SAMHSA and complying with the terms and conditions

 set forth in the notice of grant award.

        24.     On March 24, 2025, without any prior notice or indication, SAMHSA informed

 IDHS that effective that same day its ARPA Mitigation Block Grant was being terminated. A

 true and correct copy of the grant award termination correspondence is attached as Exhibit D.

        25.     SAMHSA’s purported basis for the grant termination was that SAMHSA sought

 to “reduce the overall Federal spending,” stating that “the pandemic is over[ and] the grants are

 no longer necessary.” SAMHSA provided no further information or clarification about the basis

 for the termination of this grant.

        26.     SAMHSA subsequently provided a superseding notice of termination on March

 28, 2025, that repeated the same purported justification for the grant termination.

        27.     The process by which SAMHSA notified IDHS of this grant termination was

 unusual in that IDHS was not provided with any other notice or warning from any contacts at

 SAMHSA, who in the past have typically notified IDHS before sending similar notices. The

 notice was also unusual because it was not signed by any particular SAMHSA official.




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Case 1:25-cv-00121-MSM-LDA             Document 4-17         Filed 04/01/25       Page 6 of 37 PageID
                                            #: 1831



         28.     The termination of this grant will cause severe and irrevocable harm to

 individuals in Illinois. The ARPA Mitigation Block Grant funding supported the provision of

 critical supplies to medical providers to reduce the risk of respiratory infection. Numerous

 respiratory illness, including COVID-19 and many others, pose ongoing risks to individuals

 throughout Illinois, including medical providers. IDHS’s role in providing personal protective

 equipment and other materials to providers offering critical medical services is essential to

 ensure that those providers can continue to safely and effectively care for their patients.

         29.     Before the grant award termination on March 24, 2025, SAMHSA had never

 provided IDHS with notice, written or otherwise, that the grant administered by IDHS was in any

 way unsatisfactory.

         30.     SAMHSA’s immediate and sudden termination of both the ARPA Mental Health

 Block Grant and the ARPA Mitigation Block Grant undermines vital programs and threatens

 IDHS’ ability to fulfill its role in protecting mental and public health in Illinois.



       I declare under penalty of perjury under the laws of the United States that, to the best of

 my knowledge, the foregoing is true and correct.

                 Executed on March 28, 2025, in Chicago, Illinois.




                                                   ______________________________
                                                 _____________________________________
                                                        Ryan Rollinson




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Case 1:25-cv-00121-MSM-LDA   Document 4-17   Filed 04/01/25   Page 7 of 37 PageID
                                  #: 1832




                             Exhibit A
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        Page 8 of 37 PageID
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Case 1:25-cv-00121-MSM-LDA                                           Document 4-17                                                                                           Filed 04/01/25                                                      Page 9 of 37 PageID
                                                                          #: 1834


                                            Notice of Award
  MHBG                                                    Issue Date:                                                                                                                                                                    05/17/2021
  Department of Health and Human Services
  Substance Abuse and Mental Health Services Administration

  Center for Mental Health Services



    Award Number: 1B09SM085355-01
    FAIN:          B09SM085355-01
    Contact Person: David Albert

    Program: Block Grants for Community Mental Health Services

    HUMAN SERVICES, ILLINOIS DEPARTMENT OF
    100 S GRAND AVE E

    SPRINGFIELD, IL 62704

    Award Period: 09/01/2021 – 09/30/2025

    Dear Grantee:

    The Substance Abuse and Mental Health Services Administration hereby awards a
    grant in the amount of    $50,217,012 (see “Award Calculation” in Section I) to
    HUMAN SERVICES, ILLINOIS DEPARTMENT OF in support of the above referenced
    project. This award is pursuant to the authority of Subparts I&III,B,Title XIX,PHS
    Act/45 CFR Part96 and is subject to the requirements of this statute and regulation and of
    other referenced, incorporated or attached terms and conditions.

    Acceptance of this award including the “Terms and Conditions” is acknowledged by the
    grantee when funds are drawn down or otherwise obtained from the grant payment
    system.

    If you have any questions about this award, please contact your Grants Management
    Specialist and your Government Project Officer listed in your terms and conditions.


    Sincerely yours,
    Odessa Crocker
    Grants Management Officer
    Division of Grants Management

    See additional information below




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Case 1:25-cv-00121-MSM-LDA                                     Document 4-17                                                                                               Filed 04/01/25                                                       Page 10 of 37 PageID
                                                                     #: 1835



    SECTION I – AWARD DATA – 1B09SM085355-01

    FEDERAL FUNDS APPROVED:                                                                                                                                                                                                                         $50,217,012

    AMOUNT OF THIS ACTION (FEDERAL SHARE):                                                                                                                                                                                                          $50,217,012

    CUMULATIVE AWARDS TO DATE:                                                                                                                                                                                                                      $50,217,012

    UNAWARDED BALANCE OF CURRENT YEAR’S                                                                                                                                                                                                                     $0
    FUNDS:


    Fiscal Information:
    CFDA Number:              93.958
    EIN:                1364163567A
                                   1
    Document             21B1ILCMH
    Number:                     SC6
    Fiscal Year:                2021

    IC                             CAN                                                                                                                                                              01
    SM                             C96D540                                                                                                                                                          $50,217,012



    PCC: CMHS / OC: 4115

    SECTION II – PAYMENT/HOTLINE INFORMATION –                                                                                                                                                                                              1B09SM085355-01

    Payments under this award will be made available through the HHS Payment
    Management System (PMS). PMS is a centralized grants payment and cash management
    system, operated by the HHS Program Support Center (PSC), Division of Payment
    Management (DPM). Inquiries regarding payment should be directed to: The Division of
    Payment Management System, PO Box 6021, Rockville, MD 20852, Help Desk Support
    – Telephone Number: 1-877-614-5533.

    The HHS Inspector General maintains a toll-free hotline for receiving information
    concerning fraud, waste, or abuse under grants and cooperative agreements. The
    telephone number is: 1-800-HHS-TIPS (1-800-447-8477). The mailing address is: Office
    of Inspector General, Department of Health and Human Services, Attn: HOTLINE, 330
    Independence Ave., SW, Washington, DC 20201.

    SECTION III – TERMS AND CONDITIONS – 1B09SM085355-01

    STANDARD TERMS AND CONDITIONS

    MHBG FY2021 ARPA funding
     Remarks:
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Case 1:25-cv-00121-MSM-LDA                                      Document 4-17                                                                                               Filed 04/01/25                                                       Page 11 of 37 PageID
                                                                      #: 1836



     This Notice of Award (NoA) provides American Rescue Plan Act of 2021 (ARPA)
     funding for the Community Mental Health Services (MHBG) Block Grant Program, in
     accordance with H.R. 1319 – American Rescue Plan Act of 2021 the ARPA Act, 2021
     [P.L. 117-2]. Consistent with HHS Disaster Relief Flexibilities, SAMHSA may waive
     requirements with respect to allowable activities, timelines, or reporting requirements
     for the MHBG, as deemed necessary to facilitate a grantee’s response to coronavirus.
     A proposal of the state’s spending plan must be submitted by July 2, 2021 via the Web
     Block Grant Application System (WebBGAS).
     Using the WebBGAS Revision Request for the FFY 2021 Block Grant Application,
     grantees are required to upload the Plan document (Microsoft Word or pdf), using the
     associated tab in the State Information Section, Chief Executive Officer’s Funding
     Agreement – Certifications and Assurances/Letter Designating Signatory Authority
     [MH]. Please title this document “ARPA Funding Plan 2021-MH". States must upload
     separate proposals based on MHBG and SABG guidance into the WebBGAS system.
     Further information on this is included in the letter from Acting Assistant Secretary for
     Mental Health and Substance Use, Tom Coderre


     Standard Terms of Award:
     1) Acceptance of the Terms of an Award
     By drawing or otherwise obtaining funds from the HHS Payment Management System,
     the recipient acknowledges acceptance of the terms and conditions of the award and is
     obligated to perform in accordance with the requirements of the award. Except for any
     waiver granted explicitly elsewhere in this section, this award does not constitute
     approval for waiver of any Federal statutory/regulatory requirements for a MHBG.
     Once an award is accepted by a recipient, the contents of the Notice of Award (NoA)
     are binding on the recipient unless and until modified by a revised NoA signed by the
     GMO.
     Certification Statement: By drawing down funds, The recipient agrees to abide by
     the statutory requirements of all sections of the Mental Health Block Grant (MHBG)
     (Public Health Service Act, Sections 1911-1920 and sections 1941-1957) (42 U.S.C.
     300x-1-300x-9 and 300x-51-300x-67, as amended), and other administrative and legal
     requirements as applicable for the duration of the award.
     2) Official Form Designee
     The States Chief Executive Officer, or authorized designee is considered the official
     form designee for this grant. The SAMHSA GMS and the MHBG Program Officer
     must be notified immediately before any changes in this key position are made. Please
     note that individuals that are suspended or debarred are prohibited from serving on
     Federal grant awards.
     3) Availability of Funds
     Funds provided under this grant must be obligated and expended by September 30,
     2025.
     4) Fiscal and administrative requirements
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Case 1:25-cv-00121-MSM-LDA                                       Document 4-17                                                                                               Filed 04/01/25                                                       Page 12 of 37 PageID
                                                                       #: 1837



     This award is subject to the administrative requirements for HHS block grants under
     45 CFR Part 96, Subpart C, and 45 CFR Part 75, as specified. Except for section
     75.202 of Subpart C, and sections 75.351 through 75.353 of Subpart D, the
     requirements in Subpart C, Subpart D, and Subpart E do not apply to this program
     (reference 45 CFR Part 75 Subpart B, 75.101(d)).
     Fiscal control and accounting procedures - Fiscal control and accounting procedures
     must be sufficient to (a) permit preparation of reports required by the statute
     authorizing the block grant and (b) permit the tracing of funds to a level of expenditure
     adequate to establish that such funds have not been used in violation of the restrictions
     and prohibitions of the statute authorizing the block grant.
     ARPA funding is being issued under a separate grant award number and has a unique
     subaccount in the Payment Management System. Accordingly, ARPA funds must be
     tracked and reported separately from other FY 2021 awarded funds, including
     COVID-19 Supplemental funding and the Annual Block Grant Allotment.
     Audits - Grantees and subgrantees are responsible for obtaining audits in accordance
     with the Single Audit Act Amendments of 1996 (31 U.S.C. 7501-7507) and revised
     OMB Circular A-133, “Audits of State, Local Governments, and Non-Profit
     Organizations.” The audits shall be made by an independent auditor in accordance with
     generally accepted Government auditing standards covering financial audits.
     5) Flow-down of requirements to sub-recipients
     The grantee, as the awardee organization, is legally and financially responsible for all
     aspects of this award including funds provided to sub-recipients, in accordance with 45
     CFR 75.351-75.353, Sub-recipient monitoring and management.
     6) Early Serious Mental Illness Set-Aside
     The 21st Century Cures Act, P.L. 114-255 amended Section 1920(c) of the Public
     Health Service Act (42 U.S.C. 300x 9(c)). States must set-aside not less than 10
     percent of their total MHBG allocation amount for each fiscal year to support
     evidence-based programs that address the needs of individuals with early serious
     mental illness, including psychotic disorders, regardless of the age of the individual at
     onset. In lieu of expending 10 percent of the amount, the State receives for a fiscal
     year, states have the flexibility to expend not less than 20 percent of such amount by
     the end of the succeeding fiscal year.
     7) Executive Pay
     The Consolidated Appropriations Act, 2021 (Public Law 116-260), signed into law on
     December 27, 2020 restricts the amount of direct salary to Executive Level II of the
     Federal Executive Pay scale. Effective January 3, 2021, the salary limitation for
     Executive Level II is $199,300.
     For awards issued prior to this change, if adequate funds are available in active awards,
     and if the salary cap increase is consistent with the institutional base salary, recipients
     may re-budget to accommodate the current Executive Level II salary level. However,
     no additional funds will be provided to these grant awards.
     8) Marijuana Restriction:
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Case 1:25-cv-00121-MSM-LDA                                      Document 4-17                                                                                           Filed 04/01/25                                                       Page 13 of 37 PageID
                                                                      #: 1838



     Grant funds may not be used, directly or indirectly, to purchase, prescribe, or provide
     marijuana or treatment using marijuana. Treatment in this context includes the
     treatment of opioid use disorder. Grant funds also cannot be provided to any individual
     who or organization that provides or permits marijuana use for the purposes of treating
     substance use or mental disorders. See, e.g., 45 C.F.R. 75.300(a) (requiring HHS to
     ensure that Federal funding is expended . . . in full accordance with U.S. statutory . . .
     requirements.); 21 U.S.C. 812(c) (10) and 841 (prohibiting the possession,
     manufacture, sale, purchase or distribution of marijuana). This prohibition does not
     apply to those providing such treatment in the context of clinical research permitted by
     the DEA and under an FDA-approved investigational new drug application where the
     article being evaluated is marijuana or a constituent thereof that is otherwise a banned
     controlled substance under federal law.
     9) SAM and DUNS Requirements
     THIS AWARD IS SUBJECT TO REQUIREMENTS AS SET FORTH IN 2 CFR
     25.110 CENTRAL CONTRACTOR REGISTRATION CCR) (NOW SAM) AND
     DATA UNIVERSAL NUMBER SYSTEM (DUNS) NUMBERS. 2 CFR Part 25 -
     Appendix A4
     System of Award Management (SAM) and Universal Identifier Requirements
     A. Requirement for System of Award Management:
     Unless you are exempted from this requirement under 2 CFR 25.110, you, as the
     recipient, must maintain the currency of your information in the SAM, until you
     submit the final financial report required under this award or receive the final payment,
     whichever is later. This requires that you review and update the information at least
     annually after the initial registration, and more frequently if required by changes in
     your information or another award term.
     B. Requirement for unique entity identifier If you are authorized (reference project
     description) to make subawards under this award, you:
     1. Must notify potential subrecipients that no entity (see definition in paragraph C of
     this award term) may receive a subaward from you, unless the entity has provided its
     unique entity identifier to you.
     2. May not make a subaward to an entity, unless the entity has provided its unique
     entity identifier to you.
     C. Definitions. For purposes of this award term:
     1. System of Award Management (SAM) means the federal repository into which an
     entity must provide information required for the conduct of business as a recipient.
     Additional information about registration procedures may be found at the SAM
     Internet site (currently at: http://www.sam.gov).
     2. Unique entity identifier means the identifier required for SAM registration to
     uniquely identify business entities.
     3. Entity, as it is used in this award term, means all of the following, as defined at 2
     CFR Part 25, Subpart C:
     a. A governmental organization, which is a state, local government, or Indian Tribe; b.
     A foreign public entity; c. A domestic or foreign nonprofit organization; d. A domestic
     or foreign for-profit organization; and e. A Federal agency, but only as a sub-recipient
     under an award or sub-award to a nonfederal entity.
     4. Sub-award:
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Case 1:25-cv-00121-MSM-LDA                                       Document 4-17                                                                                               Filed 04/01/25                                                       Page 14 of 37 PageID
                                                                       #: 1839



     a. This term means a legal instrument to provide support for the performance of any
     portion of the substantive project or program for which you received this award and
     that you as the recipient award to an eligible sub-recipient. b. The term does not
     include your procurement of property and services needed to carry out the project or
     program (for further explanation, see 2 CFR 200.330). c. A sub-award may be
     provided through any legal agreement, including an agreement that you consider a
     contract.
     5. Sub-recipient means an entity that: a. Receives a sub-award from you under this
     award; and b. Is accountable to you for the use of the federal funds provided by the
     sub-award.
     10) Federal Financial Accountability and Transparency Act (FFATA)
     Reporting Subawards and Executive Compensation, 2 CFR, Appendix A to Part 170
     a. Reporting of first tier subawards.
     1. Applicability. Unless you are exempt as provided in paragraph d. of this award term,
     you must report each action that obligates $25,000 or more in Federal funds that does
     not include Recovery funds (as defined in section 1512(a)(2) of the American
     Recovery and Reinvestment Act of 2009, Pub. L. 111-5) for a subaward to an entity
     (see definitions in paragraph e. of this award term).
     2. Where and when to report.
     i. You must report each obligating action described in paragraph a.1. of this award
     term to http://www.fsrs.gov.
     ii. For subaward information, report no later than the end of the month following the
     month in which the obligation was made. (For example, if the obligation was made on
     November 7, 2010, the obligation must be reported by no later than December 31,
     2010.)
     3. What to report. You must report the information about each obligating action that
     the submission instructions posted at http://www.fsrs.gov specify.
     b. Reporting Total Compensation of Recipient Executives.
     1. Applicability and what to report. You must report total compensation for each of
     your five most highly compensated executives for the preceding completed fiscal year,
     if
     i. the total Federal funding authorized to date under this award is $25,000 or more;
     ii. in the preceding fiscal year, you received (A) 80 percent or more of your annual
     gross revenues from Federal procurement contracts (and subcontracts) and Federal
     financial assistance subject to the Transparency Act, as defined at 2 CFR 170. 320 (and
     subawards); and (B) $25,000,000 or more in annual gross revenues from Federal
     procurement contracts (and subcontracts) and Federal financial assistance subject to
     the Transparency Act, as defined at 2 CFR 170.320 (and subawards); and
     iii. The public does not have access to information about the compensation of the
     executives through periodic reports filed under section 13(a) or 15(d) of the Securities
     Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
     Revenue Code of 1986. (To determine if the public has access to the compensation
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Case 1:25-cv-00121-MSM-LDA                                          Document 4-17                                                                                               Filed 04/01/25                                                       Page 15 of 37 PageID
                                                                          #: 1840



     information, see the U.S. Security and Exchange Commission total compensation
     filings at http://www.sec.gov/answers/execomp.htm.)
     2. Where and when to report. You must report executive total compensation described
     in paragraph b. 1. of this award term:
     i. As part of your registration profile at https://www.sam.gov.
     ii. By the end of the month following the month in which this award is made, and
     annually thereafter.
     c. Reporting of Total Compensation of Subrecipient Executives.
     1. Applicability and what to report. Unless you are exempt as provided in paragraph d.
     of this award term, for each first tier subrecipient under this award, you shall report the
     names and total compensation of each of the subrecipient's five most highly
     compensated executives for the subrecipient's preceding completed fiscal year, if
     i. in the subrecipient's preceding fiscal year, the subrecipient received (A) 80 percent or
     more of its annual gross revenues from Federal procurement contracts (and
     subcontracts) and Federal financial assistance subject to the Transparency Act, as
     defined at 2 CFR 170.320 (and subawards); and (B) $25,000,000 or more in annual
     gross revenues from Federal procurement contracts (and subcontracts), and Federal
     financial assistance subject to the Transparency Act (and subawards); and
     ii. The public does not have access to information about the compensation of the
     executives through periodic reports filed under section 13(a) or 15(d) of the Securities
     Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
     Revenue Code of 1986. (To determine if the public has access to the compensation
     information, see the U.S. Security and Exchange Commission total compensation
     filings at http://www.sec.gov/answers/execomp.htm.)
     2. Where and when to report. You must report subrecipient executive total
     compensation described in paragraph c. 1. of this award term:
     i. To the recipient.
     ii. By the end of the month following the month during which you make the subaward.
     For example, if a subaward is obligated on any date during the month of October of a
     given year (i.e., between October 1 and 31), you must report any required
     compensation information of the subrecipient by November 30 of that year.
     d. Exemptions If, in the previous tax year, you had gross income, from all sources,
     under $300,000, you are exempt from the requirements to report:
     i. Subawards, and
     ii. The total compensation of the five most highly compensated executives of any
     subrecipient.
     e. Definitions. For purposes of this award term:
     1. Entity means all of the following, as defined in 2 CFR part 25:
     i. A Governmental organization, which is a State, local government, or Indian tribe;
     ii. A foreign public entity;
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Case 1:25-cv-00121-MSM-LDA                                      Document 4-17                                                                                               Filed 04/01/25                                                       Page 16 of 37 PageID
                                                                      #: 1841



     iii. A domestic or foreign nonprofit organization;
     iv. A domestic or foreign for-profit organization;
     v. A Federal agency, but only as a subrecipient under an award or subaward to a non-
     Federal entity.
     2. Executive means officers, managing partners, or any other employees in
     management positions.
     3. Subaward:
     i. This term means a legal instrument to provide support for the performance of any
     portion of the substantive project or program for which you received this award and
     that you as the recipient award to an eligible subrecipient.
     ii. The term does not include your procurement of property and services needed to
     carry out the project or program (for further explanation, see Sec. __. 210 of the
     attachment to OMB Circular A-133, Audits of States, Local Governments, and
     Nonprofit Organizations).
     iii. A subaward may be provided through any legal agreement, including an agreement
     that you or a subrecipient considers a contract.
     4. Subrecipient means an entity that: i. Receives a subaward from you (the recipient)
     under this award; and ii. Is accountable to you for the use of the Federal funds
     provided by the subaward.
     5. Total compensation means the cash and noncash dollar value earned by the
     executive during the recipient's or subrecipient's preceding fiscal year and includes the
     following (for more information see 17 CFR 229.402(c)(2)):
     i. Salary and bonus.
     ii. Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
     recognized for financial statement reporting purposes with respect to the fiscal year in
     accordance with the Statement of Financial Accounting Standards No. 123 (Revised
     2004) (FAS 123R), Shared Based Payments.
     iii. Earnings for services under non-equity incentive plans. This does not include group
     life, health, hospitalization or medical reimbursement plans that do not discriminate in
     favor of executives and are available generally to all salaried employees.
     iv. Change in pension value. This is the change in present value of defined benefit and
     actuarial pension plans.
     v. Above-market earnings on deferred compensation which is not tax-qualified. vi.
     Other compensation, if the aggregate value of all such other compensation (e.g.
     severance, termination payments, value of life insurance paid on behalf of the
     employee, perquisites or property) for the executive exceeds $10,000. [75 FR 55669,
     Sept. 14, 2010, as amended at 79 FR 75879, Dec. 19, 2014]
     11) Mandatory Disclosures
     Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
     manner, in writing to the HHS Office of Inspector General (OIG), all information
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Case 1:25-cv-00121-MSM-LDA                                       Document 4-17                                                                                                   Filed 04/01/25                                                       Page 17 of 37 PageID
                                                                       #: 1842



     related to violations, or suspected violations, of Federal criminal law involving fraud,
     bribery, or gratuity violations potentially affecting the Federal award. Subrecipients
     must disclose, in a timely manner, in writing to the prime recipient (pass through
     entity) and the HHS OIG, all information related to violations, or suspected violations,
     of Federal criminal law involving fraud, bribery, or gratuity violations potentially
     affecting the Federal award. Disclosures must be sent in writing to the awarding
     agency and to the HHS OIG at the following addresses:
     U.S. Department of Health and Human Services Office of Inspector General
     ATTN: Mandatory Grant Disclosures, Intake Coordinator 330 Independence Avenue,
     SW, Cohen Building Room5527 Washington, DC 20201
     Fax: (202) 205-0604 (Include “Mandatory Grant Disclosures” in subject line) or email:
     MandatoryGranteeDisclosures@oig.hhs.gov
     Failure to make required disclosures can result in any of the remedies described in 45
     CFR 75.371 remedies for noncompliance, including suspension or debarment (see 2
     CFR parts 180 & 376 and 31 U.S.C. 3321).
     12) The Trafficking Victims Protection Act of 2000 (22 U.S.C. 7104(G)), as
     amended, and 2 C.F.R. PART 175
     The Trafficking Victims Protection Act of 2000 authorizes termination of financial
     assistance provided to a private entity, without penalty to the Federal government, if
     the recipient or subrecipient engages in certain activities related to trafficking in
     persons. SAMHSA may unilaterally terminate this award, without penalty, if a private
     entity recipient, or a private entity subrecipient, or their employees: a) Engage in
     severe forms of trafficking in persons during the period of time that the award is in
     effect; b) Procure a commercial sex act during the period of time that the award is in
     effect; or, c) Use forced labor in the performance of the award or subawards under the
     award. The text of the full award term is available at 2 C.F.R. 175.15(b). See
     http://www.gpo.gov/fdsys/pkg/CFR-2012-title2-vol1/pdf/CFR-2012-title2-vol1-
     sec175-15.pdf.
     13) Drug-Free Workplace Requirements
     The Drug-Free Workplace Act of 1988 (41 U.S.C. 701 et seq.) requires that all
     organizations receiving grants from any Federal agency agree to maintain a drug-free
     workplace. When the AR signed the application, the AR agreed that the recipient will
     provide a drug-free workplace and will comply with the requirement to notify
     SAMHSA if an employee is convicted of violating a criminal drug statute. Failure to
     comply with these requirements may be cause for debarment. Government wide
     requirements for Drug-Free Workplace for Financial Assistance are found in 2 CFR
     part 182; HHS implementing regulations are set forth in 2 CFR part 382.400. All
     recipients of SAMHSA grant funds must comply with the requirements in Subpart B
     (or Subpart C if the recipient is an individual) of Part 382.
     14) Lobbying
     No funds provided under the attached Notice of Award (NoA) may be used by you or
     any sub-recipient under the grant to support lobbying activities to influence proposed
     or pending federal or state legislation or appropriations. The prohibition relates to the
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Case 1:25-cv-00121-MSM-LDA                                      Document 4-17                                                                                                   Filed 04/01/25                                                       Page 18 of 37 PageID
                                                                      #: 1843



     use of federal grant funds and is not intended to affect your right or that of any other
     organization, to petition Congress or any other level of government, through the use of
     other nonfederal resources. Reference 45 CFR Part 93.
     15) Accessibility Provisions
     Grant recipients of Federal financial assistance (FFA) from HHS must administer their
     programs in compliance with Federal civil rights law. This means that recipients of
     HHS funds must ensure equal access to their programs without regard to a person s
     race, color, national origin, disability, age, and in some circumstances, sex and
     religion. This includes ensuring your programs are accessible to persons with limited
     English proficiency. The HHS Office for Civil Rights also provides guidance on
     complying with civil rights laws enforced by HHS. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html. Recipients
     of FFA also have specific legal obligations for serving qualified individuals with
     disabilities. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html. Please contact
     the HHS Office for Civil Rights for more information about obligations and
     prohibitions under Federal civil rights laws at https://www.hhs.gov/civil-
     rights/index.html or call 1-800-368-1019 or TDD 1-800-537-7697. Also note that it is
     an HHS Departmental goal to ensure access to quality, culturally competent care,
     including long-term services and supports, for vulnerable populations. For further
     guidance on providing culturally and linguistically appropriate services, recipients
     should review the National Standards for Culturally and Linguistically Appropriate
     Services in Health and Health Care at
     https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=1&lvlid=6.
     16) Audits
     Non-Federal recipients that expend $750,000 or more in federal awards during the
     recipient's fiscal year must obtain an audit conducted for that year in accordance with
     the provisions of 45 CFR 96.31.
     Recipients are responsible for submitting their Single Audit Reports and the Data
     Collections Forms (SF-FAC) electronically to the to the Federal Audit Clearinghouse
     Visit disclaimer page (FAC) within the earlier of 30 days after receipt or nine months
     after the FY s end of the audit period. The FAC operates on behalf of the OMB.
     For specific questions and information concerning the submission process: Visit the
     Federal Audit Clearinghouse at https://harvester.census.gov/facweb or Call FAC at the
     toll-free number: (800) 253-0696


     Reporting Requirements:
     Federal Financial Report (FFR)
     The recipient is required to submit a Federal Financial Report (FFR) 90 days after the
     close of the performance period (project period). The SF-425 shall report total funds
     obligated and total funds expended by the grantee.
     Effective January 1, 2021, award recipients are required to submit the SF-425 Federal
     Financial Report (FFR) via the Payment Management System (PMS). If the individual
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Case 1:25-cv-00121-MSM-LDA                                      Document 4-17                                                                                                   Filed 04/01/25                                                       Page 19 of 37 PageID
                                                                      #: 1844



     responsible for FFR submission does not already have an account with PMS,
     please contact PMS to obtain access.
     Recipients must liquidate all obligations incurred under an award not later than ninety
     (90) days after the end of the award obligation and expenditure period (i.e., the project
     period) which also coincides with the due date for submission of the FINAL SF-425,
     Federal Financial Report (FFR). After ninety (90) days, letter of credit accounts are
     locked. SAMHSA does not approve extensions to the ninety (90) day post-award
     reconciliation/liquidation period. Therefore, recipients are expected to complete all
     work and reporting within the approved project period and the aforementioned 90-day
     post-award reconciliation/liquidation period. Recipients (late) withdrawal requests
     occurring after the aforementioned periods are denied. In rare instances, SAMHSA
     may approve an extension to submit a FINAL SF-425 FFR report, but this is not an
     extension of the 90-day post award reconciliation/liquidation period, but rather only an
     extension to submit the Final SF-425 report (FFR).
     Annual Report
     Reporting on the ARPA funding is required. States must prepare and submit their
     respective reports utilizing WebBGAS. Failure to comply with these requirements
     may cause the initiation of enforcement actions that can culminate in discontinuation
     of MHBG grants.
     Your assigned MHBG Program Official will provide further guidance and additional
     submission information.




    In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix
    XII to 45 CFR Part 75, recipients that have currently active Federal grants, cooperative
    agreements, and procurement contracts with cumulative total value greater than
    $10,000,000 must report and maintain information in the System for Award Management
    (SAM) about civil, criminal, and administrative proceedings in connection with the
    award or performance of a Federal award that reached final disposition within the most
    recent five-year period. The recipient must also make semiannual disclosures regarding
    such proceedings. Proceedings information will be made publicly available in the
    designated integrity and performance system (currently the Federal Awardee
    Performance and Integrity Information System (FAPIIS)). Full reporting requirements
    and procedures are found in Appendix XII to 45 CFR Part 75.

    Staff Contacts:

    Steven Fry, Program Official
    Phone: 240-276-0567 Email: Steven.Fry@samhsa.hhs.gov
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Case 1:25-cv-00121-MSM-LDA                                   Document 4-17                                                                                                   Filed 04/01/25                                                       Page 20 of 37 PageID
                                                                   #: 1845




    Wendy Pang, Grants Specialist
    Phone: (240) 276-1419 Email: wendy.pang@samhsa.hhs.gov Fax: (240) 276-1430




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Case 1:25-cv-00121-MSM-LDA   Document 4-17   Filed 04/01/25   Page 21 of 37 PageID
                                   #: 1846




                             Exhibit B
     Case 1:25-cv-00121-MSM-LDA               Document 4-17         Filed 04/01/25      Page 22 of 37 PageID
                                                    #: 1847

Hazinski, John

From:                            Albert, David <David.Albert@Illinois.gov>
Sent:                            Monday, March 24, 2025 6:23 PM
To:                              Blair, Tiffany; Morrow, Adam; Schomberg, John F; Khatkhate, Priya; Wellbaum, Joseph;
                                 Grindle, Robert J.
Cc:                              Rollinson, Ryan; Dunlap, Brock
Subject:                         FW: [External] B09SM085355: Termination Notice for COVID-19 Grant Funding


#3 of 3.

David Albert, PhD (he/him/his)
Director, Division of Mental Health
Illinois Department of Human Services
401 South Clinton St., 2nd Floor
Chicago, IL 60607
Oﬃce: (312) 793-1326
Mobile: (312) 533-1864
Fax: (312) 814-2964
Email: david.albert@illinois.gov

State of Illinois - CONFIDENTIALITY NOTICE: The informafion contained in this communicafion is conﬁdenfial, may be
aftorney-client privileged or aftorney work product, may consfitute inside informafion or internal deliberafive staﬀ
communicafion, and is intended only for the use of the addressee. Unauthorized use, disclosure or copying of this
communicafion or any part thereof is strictly prohibited and may be unlawful. If you have received this communicafion
in error, please nofify the sender immediately by return e-mail and destroy this communicafion and all copies thereof,
including all aftachments. Receipt by an unintended recipient does not waive aftorney-client privilege, aftorney work
product privilege, or any other exempfion from disclosure.

From: katrina.morgan@samhsa.hhs.gov <katrina.morgan@samhsa.hhs.gov>
Sent: Monday, March 24, 2025 4:50 PM
To: Albert, David <David.Albert@Illinois.gov>
Cc: Kisha.Ledlow@samhsa.hhs.gov; wendy.pang@samhsa.hhs.gov; eracorrespondence@od.nih.gov
Subject: [External] B09SM085355: Termination Notice for COVID-19 Grant Funding


Dear Single State Authority Director and State Mental Health Commissioner,



During the COVID-19 pandemic, the Substance Abuse and Mental Health Services Administration
(SAMHSA) awarded several pandemic-related grants including the funded Coronavirus Preparedness
and Response Supplemental Appropriations Act, 2020 (H.R.6074) (CRRSA) which provided funds to
respond to the coronavirus outbreak and the American Rescue Plan (ARP) Act of 2021(H.R. 1319) which
provided additional relief to address the continued impact of COVID-19 (i.e., coronavirus disease 2019)
on the economy, public health, state and local governments, individuals, and businesses.




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    Case 1:25-cv-00121-MSM-LDA           Document 4-17 Filed 04/01/25 Page 23 of 37 PageID
                                                 #: 1848
On April 10, 2023, President Biden signed PL 188-3 terminating the national emergency concerning the
COVID-19 pandemic. Consistent with the President’s Executive Order 14222, Implementing the
President’s “Department of Government Efficiency” Cost Efficiency Initiative requiring a comprehensive
review of SAMHSA grants, and where appropriate and consistent with applicable law, terminate such
grants to reduce the overall Federal spending this grant is being terminated effective March 24,
2025. These grants were issued for a limited purpose: To ameliorate the effects of the pandemic. The
end of the pandemic provides cause to terminate COVID-related grants. Now that the pandemic is over,
the grants are no longer necessary.



In accordance with 45 CFR 96.30 (4), block grant award recipients are required to provide a Financial
Status Report (FFR) within 90 days of the close of the applicable statutory grant period. Recipients must
liquidate all obligations incurred under an award after the end of the award obligation and expenditure
period (i.e., the project period) which also coincides with the due date for submission of the FINAL SF-
425, Federal Financial Report (FFR). Reimbursements after termination are allowable if it results from
obligations which were properly incurred before the effective date of this termination.



Recipients are expected to complete all work immediately and the reconciliation/liquidation process no
later than 90-days after the award period end date.



The related Payment Management System accounts will be restricted from drawdown going
further. Additional information will be provided in the revised Notice of Award that will be issued to
initiate the award period end date.

[[Correspondence Token: 012a1144-3f37-4b04-8ae9-7de7997ae760]] -- Do not delete or change this
line. --
Please "Reply All" and do NOT delete eracorrespondence@nih.gov from the list of recipients or change
the subject line.




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Case 1:25-cv-00121-MSM-LDA   Document 4-17   Filed 04/01/25   Page 24 of 37 PageID
                                   #: 1849




                             Exhibit C
               Department of Health and Document
       Case 1:25-cv-00121-MSM-LDA         Human Services
                                                       4-17 Filed 04/01/25                                                         Notice
                                                                                                                       Page 25 of 37      of Award
                                                                                                                                     PageID
               Substance Abuse and Mental Health Services
                                                   #: 1850Administration                                                                 FAIN# B09SM085883
                    Center for Mental Health Services                                                                                         Federal Award Date
                                                                                                                                                      08/10/2021



Recipient Information                               Federal Award Information
1. Recipient Name
   HUMAN SERVICES, ILLINOIS DEPARTMENT
                                       11. Award Number
   OF
                                          1B09SM085883-01
   100 S GRAND AVE E
                                                   12. Unique Federal Award Identification Number (FAIN)
  SPRINGFIELD, IL 62704
                                                      B09SM085883
2. Congressional District of Recipient
                                                   13. Statutory Authority
   13
                                                      Subparts I&III,B,Title XIX,PHS Act/45 CFR Part96
3. Payment System Identifier (ID)
                                                   14. Federal Award Project Title
   1364163567A1
                                                      Block Grants for Community Mental Health Services
4. Employer Identification Number (EIN)
                                                   15. Assistance Listing Number
   364163567
                                                      93.958
5. Data Universal Numbering System (DUNS)
                                          16. Assistance Listing Program Title
   067919071
                                             Block Grants for Community Mental Health Services
6. Recipient’s Unique Entity Identifier
                                                   17. Award Action Type
                                                      New Competing
7. Project Director or Principal Investigator
                                                   18. Is the Award R&D?
   DAVID ALBERT
                                                      No

                                                                       Summary Federal Award Financial Information
                                                     19. Budget Period Start Date 09/01/2021 – End Date 09/30/2025
8. Authorized Official                               20. Total Amount of Federal Funds Obligated by this Action                                       $1,728,152
                                                               20 a. Direct Cost Amount                                                               $1,728,152
                                                               20 b. Indirect Cost Amount                                                                         $0
                                                     21. Authorized Carryover
                                                     22. Offset
                                                     23. Total Amount of Federal Funds Obligated this budget period                                   $1,728,152
Federal Agency Information                           24. Total Approved Cost Sharing or Matching, where applicable                                                $0
9. Awarding Agency Contact Information               25. Total Federal and Non-Federal Approved this Budget Period                                    $1,728,152
   Wendy Pang                                               ---------------------------------------------------------------------------------------------------------
   Grants Management Specialist                      26. Project Period Start Date 09/01/2021 – End Date 09/30/2025
   Center for Mental Health Services                 27. Total Amount of the Federal Award including Approved Cost                                    $1,728,152
   wendy.pang@samhsa.hhs.gov                             Sharing or Matching this Project Period
   (240) 276-1419
10. Program Official Contact Information           28. Authorized Treatment of Program Income
   Kent Forde                                         Additional Costs

  Center for Mental Health Services                29. Grants Management Officer - Signature
  kent.forde@samhsa.hhs.gov                           Odessa Crocker
  240-276-2096
30. Remarks
    Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or otherwise
    requested from the grant payment system.




                                                                      Page 1 of 10
                                          Version:203 - 1/27/2021 10:14 PM | Generated on: 8/11/2021 12:18 AM
Case 1:25-cv-00121-MSM-LDA                Document 4-17               Filed 04/01/25             Page 26 of 37 PageID
                                                #: 1851


                                            Notice of Award
   MHBG                                                    Issue Date:                   08/10/2021
   Department of Health and Human Services
   Substance Abuse and Mental Health Services Administration

   Center for Mental Health Services



    Award Number: 1B09SM085883-01
    FAIN:          B09SM085883-01
    Contact Person: DAVID ALBERT

    Program: Block Grants for Community Mental Health Services

    HUMAN SERVICES, ILLINOIS DEPARTMENT OF
    100 S GRAND AVE E

    SPRINGFIELD, IL 62704

    Award Period: 09/01/2021 – 09/30/2025

    Dear Grantee:

    The Substance Abuse and Mental Health Services Administration hereby awards a
    grant in the amount of     $1,728,152 (see “Award Calculation” in Section I) to HUMAN
    SERVICES, ILLINOIS DEPARTMENT OF in support of the above referenced project.
    This award is pursuant to the authority of Subparts I&III,B,Title XIX,PHS Act/45 CFR
    Part96 and is subject to the requirements of this statute and regulation and of other
    referenced, incorporated or attached terms and conditions.

    Acceptance of this award including the “Terms and Conditions” is acknowledged by the
    grantee when funds are drawn down or otherwise obtained from the grant payment
    system.

    If you have any questions about this award, please contact your Grants Management
    Specialist and your Government Project Officer listed in your terms and conditions.


    Sincerely yours,
    Odessa Crocker
    Grants Management Officer
    Division of Grants Management

    See additional information below




                                                    Page 2 of 10
                          Version: 203 - 1/27/2021 10:14 PM | Generated on: 8/11/2021 12:18 AM
Case 1:25-cv-00121-MSM-LDA             Document 4-17               Filed 04/01/25             Page 27 of 37 PageID
                                             #: 1852



    SECTION I – AWARD DATA – 1B09SM085883-01

    FEDERAL FUNDS APPROVED:                                                                        $1,728,152

    AMOUNT OF THIS ACTION (FEDERAL SHARE):                                                         $1,728,152

    CUMULATIVE AWARDS TO DATE:                                                                     $1,728,152

    UNAWARDED BALANCE OF CURRENT YEAR’S                                                                   $0
    FUNDS:


    Fiscal Information:
    CFDA Number:              93.958
    EIN:                1364163567A
                                   1
    Document             21B3ILCMH
    Number:                     SC6
    Fiscal Year:                2021

    IC                        CAN                                           01
    SU                        C96D210                                       $1,728,152



    PCC: CMHS / OC: 4115

    SECTION II – PAYMENT/HOTLINE INFORMATION –                                          1B09SM085883-01

    Payments under this award will be made available through the HHS Payment
    Management System (PMS). PMS is a centralized grants payment and cash management
    system, operated by the HHS Program Support Center (PSC), Division of Payment
    Management (DPM). Inquiries regarding payment should be directed to: The Division of
    Payment Management System, PO Box 6021, Rockville, MD 20852, Help Desk Support
    – Telephone Number: 1-877-614-5533.

    The HHS Inspector General maintains a toll-free hotline for receiving information
    concerning fraud, waste, or abuse under grants and cooperative agreements. The
    telephone number is: 1-800-HHS-TIPS (1-800-447-8477). The mailing address is: Office
    of Inspector General, Department of Health and Human Services, Attn: HOTLINE, 330
    Independence Ave., SW, Washington, DC 20201.

    SECTION III – TERMS AND CONDITIONS – 1B09SM085883-01

    STANDARD TERMS AND CONDITIONS

    MHBG FY2021 ARP Mitigation


                                                 Page 3 of 10
                       Version: 203 - 1/27/2021 10:14 PM | Generated on: 8/11/2021 12:18 AM
Case 1:25-cv-00121-MSM-LDA               Document 4-17               Filed 04/01/25             Page 28 of 37 PageID
                                               #: 1853



     Remarks:
     This Notice of Award (NoA) provides one-time funding made available by the
     American Rescue Plan Act of 2021, in accordance with H.R. 1319 – American Rescue
     Plan Act of 2021 the ARPA Act, 2021 [P.L. 117-2], available
     at https://www.congress.gov/117/bills/hr1319/BILLS-117hr1319enr.pdf.
     This funding is available to expand dedicated testing and mitigation resources for
     people with mental health and substance use disorders. These funds will provide
     resources and flexibility for states to prevent, prepare for, and respond to the
     coronavirus disease 2019 (COVID-19) public health emergency and ensure the
     continuity of services to support individuals connected to the behavioral health system.
     Required Plan Submission:
     Due by October 1, 2021. COVID-19 Response Workplan and Overview
     States must submit separate plans for expending these funds for both MHBG and
     SABG. States must explain the types of activities, including expenditures. Provide a
     detailed plan on how the state plan to implement COVID-19 testing and mitigation
     activities within the public mental health and or substance abuse system.
     Due by October 1, 2021. COVID-19 Response Budget and Budget Justification
     States must submit a budget and a budget justification capturing all expenses,
     including costs for administration at the state level and a plan to distribute it to
     providers, and subsequent reasons for the expenses in narrative format.
     Using the WebBGAS Revision Request for the FFY 2021 Block Grant Application,
     upload the document (Microsoft Word or pdf) using the tab into the State Information
     Section, Chief Executive Officer’s Funding Agreement – Certifications and
     Assurances/Letter Designating Signatory Authority. Please title this document
     “COVID Mitigation Funding Plan 2021(MH)” for MHBG and “COVID Mitigation
     Funding Plan 2021 (SA)” for SABG.”
     States must upload separate proposals based on Mental Health Block Grant and
     Substance Abuse Block Grant guidance into the WebBGAS system. Upon submission,
     SAMHSA will review the proposal to ensure it is complete and responsive. Proposals
     must be submitted to WebBGAS by Friday, October 1, 2021.


     Standard Terms of Award:
     1) Acceptance of the Terms of an Award
     By drawing or otherwise obtaining funds from the HHS Payment Management System,
     the recipient acknowledges acceptance of the terms and conditions of the award and is
     obligated to perform in accordance with the requirements of the award. Once an award
     is accepted by a recipient, the contents of the Notice of Award (NoA) are binding on
     the recipient unless and until modified by a revised NoA signed by the GMO.
     2) Official Form Designee
     The States Chief Executive Officer, or authorized designee is considered the official
     form designee for this grant. The SAMHSA GMS and the MHBG Program Officer
                                                   Page 4 of 10
                         Version: 203 - 1/27/2021 10:14 PM | Generated on: 8/11/2021 12:18 AM
Case 1:25-cv-00121-MSM-LDA              Document 4-17               Filed 04/01/25             Page 29 of 37 PageID
                                              #: 1854



     must be notified immediately before any changes in this key position are made. Please
     note that individuals that are suspended or debarred are prohibited from serving on
     Federal grant awards.
     3) Availability of Funds
     Funds provided under this grant must be obligated and expended by September 30,
     2025.
     4) Fiscal and administrative requirements
     This award is subject to the administrative requirements for HHS block grants under
     45 CFR Part 96, Subpart C, and 45 CFR Part 75, as specified. Except for section
     75.202 of Subpart C, and sections 75.351 through 75.353 of Subpart D, the
     requirements in Subpart C, Subpart D, and Subpart E do not apply to this program
     (reference 45 CFR Part 75 Subpart B, 75.101(d)).
     Fiscal control and accounting procedures - Fiscal control and accounting procedures
     must be sufficient to (a) permit preparation of reports required by the statute
     authorizing the block grant and (b) permit the tracing of funds to a level of expenditure
     adequate to establish that such funds have not been used in violation of the restrictions
     and prohibitions of the statute authorizing the block grant.
     Audits - Grantees and subgrantees are responsible for obtaining audits in accordance
     with the Single Audit Act Amendments of 1996 (31 U.S.C. 7501-7507) and revised
     OMB Circular A-133, “Audits of State, Local Governments, and Non-Profit
     Organizations.” The audits shall be made by an independent auditor in accordance with
     generally accepted Government auditing standards covering financial audits.
     Financial settlement - The State must repay to the Department amounts found after
     audit resolution to have been expended improperly. In the event that repayment is not
     made voluntarily, the Department will undertake recovery.
     5) Flow-down of requirements to sub-recipients
     The grantee, as the awardee organization, is legally and financially responsible for all
     aspects of this award including funds provided to sub-recipients, in accordance with 45
     CFR 75.351 75.353, Sub-recipient monitoring and management.
     6) Executive Pay
     The Consolidated Appropriations Act, 2021 (Public Law 116-260), signed into law on
     December 27, 2020 restricts the amount of direct salary to Executive Level II of the
     Federal Executive Pay scale. Effective January 3, 2021, the salary limitation for
     Executive Level II is $199,300.
     For awards issued prior to this change, if adequate funds are available in active awards,
     and if the salary cap increase is consistent with the institutional base salary, recipients
     may re-budget to accommodate the current Executive Level II salary level. However,
     no additional funds will be provided to these grant awards.
     7) Marijuana Restriction
     SAMHSA grant funds may not be used to purchase, prescribe, or provide
     marijuana or treatment using marijuana. See, e.g., 45 C.F.R. 75.300(a)
                                                  Page 5 of 10
                        Version: 203 - 1/27/2021 10:14 PM | Generated on: 8/11/2021 12:18 AM
Case 1:25-cv-00121-MSM-LDA              Document 4-17               Filed 04/01/25             Page 30 of 37 PageID
                                              #: 1855



     (requiring HHS to ensure that Federal funding is expended in full accordance
     with U.S. statutory and public policy requirements); 21 U.S.C. 812(c)(10) and
     841 (prohibiting the possession, manufacture, sale, purchase or distribution of
     marijuana).
     8) Anti-discrimination
     You must administer your project in compliance with federal civil rights laws that
     prohibit discrimination on the basis of race, color, national origin, disability, age and,
     in some circumstances, religion, conscience, and sex (including gender identity, sexual
     orientation, and pregnancy). This includes taking reasonable steps to provide
     meaningful access to persons with limited English proficiency and providing programs
     that are accessible to and usable by persons with disabilities. The HHS Office for Civil
     Rights provides guidance on complying with civil rights laws enforced by HHS. See
     https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html and
     https://www.hhs.gov/civil-rights/for-individuals/nondiscrimination/index.html.
     • You must take reasonable steps to ensure that your project provides meaningful
     access to persons with limited English proficiency. For guidance on meeting your legal
     obligation to take reasonable steps to ensure meaningful access to your programs or
     activities by limited English proficient individuals, see https://www.hhs.gov/civil-
     rights/for-individuals/special-topics/limited-english-proficiency/fact-sheet-
     guidance/index.html and https://www.lep.gov.
     • For information on your specific legal obligations for serving qualified individuals
     with disabilities, including providing program access, reasonable modifications, and
     taking appropriate steps to provide effective communication , see
     http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
     • HHS funded health and education programs must be administered in an environment
     free of sexual harassment, see https://www.hhs.gov/civil-rights/for-individuals/sex-
     discrimination/index.html.
     • For guidance on administering your project in compliance with applicable federal
     religious nondiscrimination laws and applicable federal conscience protection and
     associated anti-discrimination laws, see https://www.hhs.gov/conscience/conscience-
     protections/index.html and https://www.hhs.gov/conscience/religious-
     freedom/index.html.
     9) System for Award Management (SAM)
     This award is subject to requirement set forth in 2 CFR 25.110
     Unless you are exempted from this requirement under 2 CFR 25.110, you, as the
     recipient, must maintain the currency of your information in the SAM, until you
     submit the final financial report required under this award or receive the final payment,
     whichever is later. This requires that you review and update the information at least
     annually after the initial registration, and more frequently if required by changes in
     your information or another award term. This requirement flows down to
     subrecipients and contractors under awards or subawards. SAM website: System for
     Award Management (SAM)
     10) Federal Financial Accountability and Transparency Act (FFATA)
                                                  Page 6 of 10
                        Version: 203 - 1/27/2021 10:14 PM | Generated on: 8/11/2021 12:18 AM
Case 1:25-cv-00121-MSM-LDA              Document 4-17               Filed 04/01/25             Page 31 of 37 PageID
                                              #: 1856



     Reporting Subawards and Executive Compensation, 2 CFR, Appendix A to Part
     170
     The Federal Funding Accountability and Transparency Act (FFATA) was signed on
     September 26, 2006.
     Unless you are exempt, you must report each action that obligates $25,000 or more in
     Federal funds. The FFATA Subaward Reporting System (FSRS) is the reporting tool
     federal prime awardees (i.e. prime contractors and prime grants recipients) must use to
     capture and report subaward and executive compensation data regarding their first-tier
     subawards to meet the FFATA reporting requirements. Prime contract awardees must
     report against sub-contracts awarded. Prime grant awardees will report against sub-
     grants awarded. The sub-award information you enter in FSRS will display
     on USASpending.gov associated with the prime award. This furthers federal spending
     transparency.
     You must report each obligating action to http://www.fsrs.gov
     11) Mandatory Disclosures
     Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
     manner, in writing to the HHS Office of Inspector General (OIG), all information
     related to violations, or suspected violations, of Federal criminal law involving fraud,
     bribery, or gratuity violations potentially affecting the Federal award. Subrecipients
     must disclose, in a timely manner, in writing to the prime recipient (pass through
     entity) and the HHS OIG, all information related to violations, or suspected violations,
     of Federal criminal law involving fraud, bribery, or gratuity violations potentially
     affecting the Federal award. Disclosures must be sent in writing to the awarding
     agency and to the HHS OIG at the following addresses:
         U.S. Department of Health and Human Services Office of Inspector General
         ATTN: Mandatory Grant Disclosures, Intake Coordinator 330 Independence
         Avenue,
         SW, Cohen Building Room5527 Washington, DC 20201
         Fax: (202) 205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
         email: MandatoryGranteeDisclosures@oig.hhs.gov
     Failure to make required disclosures can result in any of the remedies described in 45
     CFR 75.371 remedies for noncompliance, including suspension or debarment (see 2
     CFR parts 180 & 376 and 31 U.S.C. 3321).
     12) The Trafficking Victims Protection Act of 2000 (22 U.S.C. 7104(G)), as
     amended, and 2 C.F.R. PART 175
     The Trafficking Victims Protection Act of 2000 authorizes termination of financial
     assistance provided to a private entity, without penalty to the Federal government, if
     the recipient or subrecipient engages in certain activities related to trafficking in
     persons. SAMHSA may unilaterally terminate this award, without penalty, if a private
     entity recipient, or a private entity subrecipient, or their employees: a) Engage in
     severe forms of trafficking in persons during the period of time that the award is in
     effect; b) Procure a commercial sex act during the period of time that the award is in
                                                  Page 7 of 10
                        Version: 203 - 1/27/2021 10:14 PM | Generated on: 8/11/2021 12:18 AM
Case 1:25-cv-00121-MSM-LDA              Document 4-17               Filed 04/01/25             Page 32 of 37 PageID
                                              #: 1857



     effect; or, c) Use forced labor in the performance of the award or subawards under the
     award. The text of the full award term is available at 2 C.F.R. 175.15(b). See
     http://www.gpo.gov/fdsys/pkg/CFR-2012-title2-vol1/pdf/CFR-2012-title2-vol1-
     sec175-15.pdf.
     13) Drug-Free Workplace Requirements
     The Drug-Free Workplace Act of 1988 (41 U.S.C. 701 et seq.) requires that all
     organizations receiving grants from any Federal agency agree to maintain a drug-free
     workplace. When the AR signed the application, the AR agreed that the recipient will
     provide a drug-free workplace and will comply with the requirement to notify
     SAMHSA if an employee is convicted of violating a criminal drug statute. Failure to
     comply with these requirements may be cause for debarment. Government wide
     requirements for Drug-Free Workplace for Financial Assistance are found in 2 CFR
     part 182; HHS implementing regulations are set forth in 2 CFR part 382.400. All
     recipients of SAMHSA grant funds must comply with the requirements in Subpart B
     (or Subpart C if the recipient is an individual) of Part 382.
     14) Lobbying
     No funds provided under the attached Notice of Award (NoA) may be used by you or
     any sub-recipient under the grant to support lobbying activities to influence proposed
     or pending federal or state legislation or appropriations. The prohibition relates to the
     use of federal grant funds and is not intended to affect your right or that of any other
     organization, to petition Congress or any other level of government, through the use of
     other nonfederal resources. Reference 45 CFR Part 93.
     15) Accessibility Provisions
     Grant recipients of Federal financial assistance (FFA) from HHS must administer their
     programs in compliance with Federal civil rights law. This means that recipients of
     HHS funds must ensure equal access to their programs without regard to a person s
     race, color, national origin, disability, age, and in some circumstances, sex and
     religion. This includes ensuring your programs are accessible to persons with limited
     English proficiency. The HHS Office for Civil Rights also provides guidance on
     complying with civil rights laws enforced by HHS. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html. Recipients
     of FFA also have specific legal obligations for serving qualified individuals with
     disabilities. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html. Please contact
     the HHS Office for Civil Rights for more information about obligations and
     prohibitions under Federal civil rights laws at https://www.hhs.gov/civil-
     rights/index.html or call 1-800-368-1019 or TDD 1-800-537-7697. Also note that it is
     an HHS Departmental goal to ensure access to quality, culturally competent care,
     including long-term services and supports, for vulnerable populations. For further
     guidance on providing culturally and linguistically appropriate services, recipients
     should review the National Standards for Culturally and Linguistically Appropriate
     Services in Health and Health Care at
     https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=1&lvlid=6.
     16) Audits
                                                  Page 8 of 10
                        Version: 203 - 1/27/2021 10:14 PM | Generated on: 8/11/2021 12:18 AM
Case 1:25-cv-00121-MSM-LDA              Document 4-17               Filed 04/01/25             Page 33 of 37 PageID
                                              #: 1858



     Non-Federal recipients that expend $750,000 or more in federal awards during the
     recipient's fiscal year must obtain an audit conducted for that year in accordance with
     the provisions of 45 CFR 96.31.
     Recipients are responsible for submitting their Single Audit Reports and the Data
     Collections Forms (SF-FAC) electronically to the to the Federal Audit Clearinghouse
     Visit disclaimer page (FAC) within the earlier of 30 days after receipt or nine months
     after the FY s end of the audit period. The FAC operates on behalf of the OMB.
     For specific questions and information concerning the submission process: Visit the
     Federal Audit Clearinghouse at https://harvester.census.gov/facweb or Call FAC at the
     toll-free number: (800) 253-0696


     Reporting Requirements:
     Annual Report
     Reporting on the ARPA funding is required. After the end of each fiscal year, a FY
     annual report is required on December 31, until the funds expire, and states must
     upload a narrative report including activities and expenditures. States must prepare
     and submit their respective reports utilizing WebBGAS. Your assigned
     MHBG Program Official will provide further guidance and additional submission
     information.
     Failure to comply with these requirements may cause the initiation of enforcement
     actions that can culminate in discontinuation of MHBG grants.
     Federal Financial Report (FFR)
     The recipient is required to submit a Federal Financial Report (FFR) 90 days after the
     close of the performance period (project period). The SF-425 shall report total funds
     obligated and total funds expended by the grantee.
     Effective January 1, 2021, award recipients are required to submit the SF-425 Federal
     Financial Report (FFR) via the Payment Management System (PMS). If the individual
     responsible for FFR submission does not already have an account with PMS,
     please contact PMS to obtain access.
     Recipients must liquidate all obligations incurred under an award not later than ninety
     (90) days after the end of the award obligation and expenditure period (i.e., the project
     period) which also coincides with the due date for submission of the FINAL SF-425,
     Federal Financial Report (FFR). After ninety (90) days, letter of credit accounts are
     locked. SAMHSA does not approve extensions to the ninety (90) day post-award
     reconciliation/liquidation period. Therefore, recipients are expected to complete all
     work and reporting within the approved project period and the aforementioned 90-day
     post-award reconciliation/liquidation period. Recipients (late) withdrawal requests
     occurring after the aforementioned periods are denied. In rare instances, SAMHSA
     may approve an extension to submit a FINAL SF-425 FFR report, but this is not an
     extension of the 90-day post award reconciliation/liquidation period, but rather only an
     extension to submit the Final SF-425 report (FFR).


                                                  Page 9 of 10
                        Version: 203 - 1/27/2021 10:14 PM | Generated on: 8/11/2021 12:18 AM
Case 1:25-cv-00121-MSM-LDA             Document 4-17               Filed 04/01/25             Page 34 of 37 PageID
                                             #: 1859




    In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix
    XII to 45 CFR Part 75, recipients that have currently active Federal grants, cooperative
    agreements, and procurement contracts with cumulative total value greater than
    $10,000,000 must report and maintain information in the System for Award Management
    (SAM) about civil, criminal, and administrative proceedings in connection with the
    award or performance of a Federal award that reached final disposition within the most
    recent five-year period. The recipient must also make semiannual disclosures regarding
    such proceedings. Proceedings information will be made publicly available in the
    designated integrity and performance system (currently the Federal Awardee
    Performance and Integrity Information System (FAPIIS)). Full reporting requirements
    and procedures are found in Appendix XII to 45 CFR Part 75.

    Staff Contacts:

    Kent Forde, Program Official
    Phone: 240-276-2096 Email: kent.forde@samhsa.hhs.gov

    Wendy Pang, Grants Specialist
    Phone: (240) 276-1419 Email: wendy.pang@samhsa.hhs.gov Fax: (240) 276-1430




                                                 Page 10 of 10
                       Version: 203 - 1/27/2021 10:14 PM | Generated on: 8/11/2021 12:18 AM
Case 1:25-cv-00121-MSM-LDA   Document 4-17   Filed 04/01/25   Page 35 of 37 PageID
                                   #: 1860




                             Exhibit D
     Case 1:25-cv-00121-MSM-LDA               Document 4-17         Filed 04/01/25      Page 36 of 37 PageID
                                                    #: 1861

Hazinski, John

From:                            Albert, David <David.Albert@Illinois.gov>
Sent:                            Monday, March 24, 2025 6:23 PM
To:                              Blair, Tiffany; Morrow, Adam; Schomberg, John F; Khatkhate, Priya; Wellbaum, Joseph;
                                 Grindle, Robert J.
Cc:                              Rollinson, Ryan; Dunlap, Brock
Subject:                         FW: [External] B09SM085883: Termination Notice for COVID-19 Grant Funding


Forwarding #1 of 3….

David Albert, PhD (he/him/his)
Director, Division of Mental Health
Illinois Department of Human Services
401 South Clinton St., 2nd Floor
Chicago, IL 60607
Oﬃce: (312) 793-1326
Mobile: (312) 533-1864
Fax: (312) 814-2964
Email: david.albert@illinois.gov

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including all aftachments. Receipt by an unintended recipient does not waive aftorney-client privilege, aftorney work
product privilege, or any other exempfion from disclosure.

From: katrina.morgan@samhsa.hhs.gov <katrina.morgan@samhsa.hhs.gov>
Sent: Monday, March 24, 2025 4:50 PM
To: Albert, David <David.Albert@Illinois.gov>
Cc: Kisha.Ledlow@samhsa.hhs.gov; wendy.pang@samhsa.hhs.gov; eracorrespondence@od.nih.gov
Subject: [External] B09SM085883: Termination Notice for COVID-19 Grant Funding


Dear Single State Authority Director and State Mental Health Commissioner,



During the COVID-19 pandemic, the Substance Abuse and Mental Health Services Administration
(SAMHSA) awarded several pandemic-related grants including the funded Coronavirus Preparedness
and Response Supplemental Appropriations Act, 2020 (H.R.6074) (CRRSA) which provided funds to
respond to the coronavirus outbreak and the American Rescue Plan (ARP) Act of 2021(H.R. 1319) which
provided additional relief to address the continued impact of COVID-19 (i.e., coronavirus disease 2019)
on the economy, public health, state and local governments, individuals, and businesses.




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    Case 1:25-cv-00121-MSM-LDA           Document 4-17 Filed 04/01/25 Page 37 of 37 PageID
                                                 #: 1862
On April 10, 2023, President Biden signed PL 188-3 terminating the national emergency concerning the
COVID-19 pandemic. Consistent with the President’s Executive Order 14222, Implementing the
President’s “Department of Government Efficiency” Cost Efficiency Initiative requiring a comprehensive
review of SAMHSA grants, and where appropriate and consistent with applicable law, terminate such
grants to reduce the overall Federal spending this grant is being terminated effective March 24,
2025. These grants were issued for a limited purpose: To ameliorate the effects of the pandemic. The
end of the pandemic provides cause to terminate COVID-related grants. Now that the pandemic is over,
the grants are no longer necessary.



In accordance with 45 CFR 96.30 (4), block grant award recipients are required to provide a Financial
Status Report (FFR) within 90 days of the close of the applicable statutory grant period. Recipients must
liquidate all obligations incurred under an award after the end of the award obligation and expenditure
period (i.e., the project period) which also coincides with the due date for submission of the FINAL SF-
425, Federal Financial Report (FFR). Reimbursements after termination are allowable if it results from
obligations which were properly incurred before the effective date of this termination.



Recipients are expected to complete all work immediately and the reconciliation/liquidation process no
later than 90-days after the award period end date.



The related Payment Management System accounts will be restricted from drawdown going
further. Additional information will be provided in the revised Notice of Award that will be issued to
initiate the award period end date.

[[Correspondence Token: 45b9bb3a-eaca-4598-87cb-93bbcf2bb9e4]] -- Do not delete or change this
line. --
Please "Reply All" and do NOT delete eracorrespondence@nih.gov from the list of recipients or change
the subject line.




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